
OVERTON, Justice.
This is a petition to review a decision of the Fourth District Court of Appeal reported as State Farm Mutual Automobile Insurance Co. v. Lewis, 425 So.2d 603 (Fla. 4th DCA 1982). We find direct conflict with Vetter v. State Farm Mutual Automobile Insurance Co., 423 So.2d 991 (Fla.3d DCA 1982); Allstate Insurance Co. v. Alvarez, 414 So.2d 224 (Fla.3d DCA 1982); Indomenico v. State Farm Mutual Automobile Insurance Co., 388 So.2d 29 (Fla.3d DCA 1980); State Farm Mutual Automobile Insurance Co. v. Wimpee, 376 *217So.2d 20 (Fla.2d DCA 1979), cert. denied, 385 So.2d 762 (Fla.1980); and State Farm Mutual Automobile Insurance Co. v. Kuhn, 374 So.2d 1079 (Fla. 3d DCA 1979), cert. denied, 383 So.2d 1197 (Fla.1980). We have jurisdiction. Art. V, § 3(b)(3), Fla. Const.
We have resolved this conflict in our decision in New Hampshire Insurance Group v. Harbach, 439 So.2d 1383 (Fla.1983). For the reasons expressed in that decision, we quash the decision of the district court in the instant case.
It is so ordered.
ALDERMAN, C.J., and BOYD, MCDONALD, EHRLICH and SHAW, JJ., concur.
ADKINS, J., dissents.
